Case 1:23-cv-08072-JGK Document 43 Filed 08/09/24 Page1lofi1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE COMMISSION,
23-cv-8072 (JGK)
Plaintiff,
ORDER

- against -
VIRTU FINANCIAL, INC., ET AL.,

Defendants.

JOHN G. KOELTL, District Judge:

For the reasons discussed at the oral argument heid on August
9, 2024, the defendants’ motion to dismiss the First Amended
Complaint is denied. The Clerk is respectfully directed to close
ECF Nos. 22 and 34.

The parties are directed to submit a Rule 26(f) Report by
August 23, 2024.
SO ORDERED.

Dated: New York, New York
August 9, 2024

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C / Fohn* G. Koelitl
United States District Judge

